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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03003 (SGJ)
                                                                        )
JAMES D. DONDERO,                                                       )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On July 26, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; via Overnight Mail upon the service list attached hereto as Exhibit C;
and via First Class Mail upon the service lists attached hereto as Exhibit D and Exhibit E:

      •   Plaintiff’s Notice of Service of a Subpoena to PricewaterhouseCoopers
          [Docket No. 71]


Dated: July 29, 2021
                                                      /s/ Hannah Bussey
                                                      Hannah Bussey
                                                      KCC
                                                      Meidinger Tower
                                                      462 South 4th Street
                                                      Louisville, KY 40202

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                              EXHIBIT A
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                                                                              Exhibit A
                                                                        Core/2002 Service List
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                Description                               CreditorName                       CreditorNoticeName                               Email
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                                                                              Exhibit A
                                                                        Core/2002 Service List
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                 Description                              CreditorName                        CreditorNoticeName                             Email
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                                                                      Core/2002 Service List
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                Description                             CreditorName                       CreditorNoticeName                             Email
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                                              The Mark and Pamela Okada
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                              EXHIBIT B
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                                                           Exhibit B
                                                     Adversary Service List
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Highland Capital Management, L.P.
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                              EXHIBIT C
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                                                                    Exhibit C
                                                                  Affected Party
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                           CreditorName          CreditorNoticeName           Address1      Address2     City   State    Zip
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                              EXHIBIT D
                                     Case 21-03003-sgj Doc 72 Filed 07/29/21                           Entered 07/29/21 20:14:21                     Page 11 of 13
                                                                                                Exhibit D
                                                                                         Core/2002 Service List
                                                                                        Served via First Class Mail


             Description                        CreditorName                CreditorNoticeName                   Address1                 Address2         Address3       City     State      Zip
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  Secured Creditor                     KeyBank National Association     as Agent                         127 Public Square                                            Cleveland    OH      44114
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  Delaware Division of Revenue         Zillah A. Frampton               Bankruptcy Administrator        Revenue                      Building, 8th Floor Street        Wilmington DE       19801




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                              EXHIBIT E
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                                                                         Exhibit E
                                                                   Adversary Service List
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             Description                   CreditorName                 CreditorNoticeName              Address1                City      State    Zip
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                                                                   Wilson, IV, Bryan C. Assink,
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  and UBS AG London Branch          Latham & Watkins LLP           Posin                         100                        Los Angeles   CA      90071
  Counsel for UBS Securities LLC                                                                 1271 Avenue of the
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